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                                                                          APPEAL,CUSTODY,LC-1

                                  U.S. District Court
          U.S. District Court for the Northern District of Oklahoma (Tulsa)
        ABRIDGED CRIMINAL DOCKET FOR CASE #: 4:09-cr-00043-SPF-1


Case title: USA v. Springer et al                           Date Filed: 03/10/2009
Other court case numbers: 09-5165 10th Circuit Court        Date Terminated: 04/28/2010
                           10-5101 10th Circuit
                           11-10096 US Supreme Court
                           13-5113 10th Circuit
                           14-5111 10th Circuit
Related Case: 4:13-cv-00145-SPF-TLW


 Date Filed       #    Docket Text
 03/10/2009        2   INDICTMENT by USA as to Lindsey Kent Springer (1) count(s) 1, 2, 3-4, 5-
                       6, Oscar Amos Stilley (2) count(s) 1, 3-4 (pll, Dpty Clk) (Entered:
                       03/10/2009)
 03/11/2013     472    MOTION to Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 by
                       Lindsey K Springer as to Lindsey Kent Springer (s-srt, Dpty Clk)
                       Civil case 4:13-cv-00145 opened. (Entered: 03/12/2013)
 03/11/2013     473    BRIEF in Support of Motion (Re: 472 MOTION to Vacate/Set Aside/Correct
                       Sentence under 28 U.S.C. 2255 ) by Lindsey K Springer as to Lindsey Kent
                       Springer (s-srt, Dpty Clk) (Entered: 03/12/2013)
 03/11/2013     474    AFFIDAVIT in Support of Motion (Re: 472 MOTION to Vacate/Set
                       Aside/Correct Sentence under 28 U.S.C. 2255 ) by Lindsey K Springer as to
                       Lindsey Kent Springer (s-srt, Dpty Clk) (Entered: 03/12/2013)
 03/11/2013     476    MINUTE ORDER by Judge Stephen P Friot (Re: 472 MOTION to
                       Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Lindsey
                       Kent Springer (s-srt, Dpty Clk) (Entered: 03/12/2013)
 03/15/2013     478    ORDER by Judge Stephen P Friot , setting/resetting deadline(s)/hearing(s):
                       ( Responses due by 8/9/2013) (Re: 474 Affidavit in Support of Motion, 473
                       Brief in Support of Motion, 472 MOTION to Vacate/Set Aside/Correct
                       Sentence under 28 U.S.C. 2255 , 475 Certificate of Service, ) as to Lindsey
                       Kent Springer (cds, Dpty Clk) (Entered: 03/15/2013)
 03/25/2013     479    MOTION to Proceed In Forma Pauperis by Lindsey K Springer as to Lindsey
                       Kent Springer (sdc, Dpty Clk) (Entered: 03/25/2013)
 03/27/2013     480    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #479
                       Denied (Re: 479 MOTION to Proceed In Forma Pauperis ) as to Lindsey
                       Kent Springer (cds, Dpty Clk) (Entered: 03/27/2013)
 04/08/2013     483    MOTION to Clarify by Lindsey Kent Springer (sdc, Dpty Clk) (Entered:




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                       04/08/2013)
 04/09/2013     484    ORDER by Judge Stephen P Friot , terminating document(s) (Re: 480 Order,
                       Ruling on Motion(s)/Document(s), 479 MOTION to Proceed In Forma
                       Pauperis , 483 MOTION to Clarify ) (Documents Terminated: 483 MOTION
                       to Clarify ) as to Lindsey Kent Springer (cds, Dpty Clk) (Entered:
                       04/09/2013)
 04/29/2013     485    MOTION To Recuse of Disqualify Honorable United States District Judge
                       Stephen P. Friot by Lindsey Kent Springer (s-srt, Dpty Clk) (Entered:
                       04/29/2013)
 04/29/2013     486    AFFIDAVIT in Support of Motion (Re: 485 MOTION To Recuse of
                       Disqualify Honorable United States District Judge Stephen P. Friot ) by
                       Lindsey K Springer as to Lindsey Kent Springer (s-srt, Dpty Clk) (Entered:
                       04/29/2013)
 05/03/2013     487    RESPONSE in Opposition to Motion (Re: 485 MOTION To Recuse of
                       Disqualify Honorable United States District Judge Stephen P. Friot ) by USA
                       as to Lindsey Kent Springer (O'Reilly, Charles) Modified on 5/6/2013; this
                       document contains two events and that is not allowed with CM/ECF - see 491
                       for Motion to Strike Document(s) (sac, Dpty Clk). (Entered: 05/03/2013)
 05/07/2013     492    ORDER by Judge Stephen P Friot , striking/withdrawing document(s) (Re:
                       489 Brief in Support of Motion, 488 MOTION for Declaratory Judgment
                       Remedy ) (Documents Terminated: 489 Brief in Support of Motion, 488
                       MOTION for Declaratory Judgment Remedy ) as to Lindsey Kent Springer
                       (cds, Dpty Clk) (Entered: 05/07/2013)
 05/10/2013     493    MOTION to Clarify Who is U.S. Attorney by Lindsey K Springer as to
                       Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 05/10/2013)
 05/10/2013     494    MOTION to Reconsider Determination that Section 2255 is Continuing
                       Criminal Case and Not a New Civil Case by Lindsey K Springer as to
                       Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 05/13/2013)
 05/15/2013     496    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #493
                       stricken in part, denied in part; #494 denied (Re: 493 MOTION to Clarify
                       Who is U.S. Attorney, 494 MOTION to Reconsider Determination that
                       Section 2255 is Continuing Criminal Case and Not a New Civil Case ) as to
                       Lindsey Kent Springer (pll, Dpty Clk) (Entered: 05/15/2013)
 05/20/2013     502    REPLY to Response to Motion (Re: 485 MOTION To Recuse of Disqualify
                       Honorable United States District Judge Stephen P. Friot ) by Lindsey K
                       Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 05/21/2013)
 05/31/2013     507    MOTION to Disqualify Charles A. O'Reilly by Lindsey Kent Springer (sdc,
                       Dpty Clk) (Entered: 05/31/2013)
 05/31/2013     508    MOTION to Substitute by Lindsey K Springer as to Lindsey Kent Springer
                       (sdc, Dpty Clk) (Entered: 05/31/2013)
 06/21/2013     510    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #485
                       denied (Re: 485 MOTION To Recuse of Disqualify Honorable United States




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                       District Judge Stephen P. Friot ) as to Lindsey Kent Springer (hbo, Dpty Clk)
                       (Entered: 06/21/2013)
 06/25/2013     511    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #507 &
                       #508 are denied (Re: 508 MOTION to Substitute , 507 MOTION to
                       Disqualify Charles A. O'Reilly ) as to Lindsey Kent Springer (lml, Dpty Clk)
                       (Entered: 06/25/2013)
 07/02/2013     512    MOTION for Conditional Release on Writ of Habeas Corpus as to Count One
                       by Lindsey K Springer as to Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                       07/02/2013)
 07/02/2013     513    MOTION for Conditional Release on Writ of Habeas Corpus as to Counts
                       Two, Three and Four by Lindsey K Springer as to Lindsey Kent Springer (sc,
                       Dpty Clk) (Entered: 07/02/2013)
 07/03/2013     514    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #512
                       and 513 denied (Re: 513 MOTION for Conditional Release on Writ of
                       Habeas Corpus as to Counts Two, Three and Four , 512 MOTION for
                       Conditional Release on Writ of Habeas Corpus as to Count One ) as to
                       Lindsey Kent Springer (pll, Dpty Clk) (Entered: 07/03/2013)
 10/07/2013     522    MOTION to Strike Document(s) (Re: 518 Response in Opposition to
                       Motion ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered: 10/07/2013)
 10/09/2013     524    MOTION for Leave to Conduct Limited Discovery on United States Attorney
                       by Lindsey K Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                       10/09/2013)
 10/24/2013     525    RESPONSE in Opposition to Motion to Strike (Re: 522 MOTION to Strike
                       Document(s) ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                       (Entered: 10/24/2013)
 10/24/2013     526    RESPONSE in Opposition to Motion to Conduct Limited Discovery (Re: 524
                       MOTION for Leave to Conduct Limited Discovery on United States
                       Attorney ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                       10/24/2013)
 10/31/2013     527    MOTION for Leave to File Reply (Re: 524 MOTION for Leave to Conduct
                       Limited Discovery on United States Attorney , 522 MOTION to Strike
                       Document(s) ) by Lindsey K Springer as to Lindsey Kent Springer (sdc, Dpty
                       Clk) (Entered: 11/01/2013)
 01/06/2014     528    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #522,
                       524 & 527 denied (Re: 527 MOTION for Leave to File Reply , 524 MOTION
                       for Leave to Conduct Limited Discovery on United States Attorney , 522
                       MOTION to Strike Document(s) ) as to Lindsey Kent Springer (hbo, Dpty
                       Clk) (Entered: 01/06/2014)
 01/08/2014     529    MOTION to Clarify Reply (Re: 478 Order, Setting/Resetting Deadline
                       (s)/Hearing(s),,,, ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                       01/08/2014)
 01/10/2014     530    ORDER by Judge Stephen P Friot (Copy of this order and Order #528 mailed




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                       to defendant), ruling on motion(s)/document(s): #529 granted (Re: 529
                       MOTION to Clarify Reply ) as to Lindsey Kent Springer (hbo, Dpty Clk)
                       (Entered: 01/10/2014)
 01/21/2014     531    MOTION to Reconsider (Re: 528 Order, Ruling on Motion(s)/Document
                       (s),, ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered: 01/21/2014)
 02/10/2014     534    RESPONSE (Re: 478 Order, Setting/Resetting Deadline(s)/Hearing(s),,,, ) by
                       Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 02/11/2014)
 02/13/2014     536    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #531
                       denied (Re: 531 MOTION to Reconsider ) as to Lindsey Kent Springer (hbo,
                       Dpty Clk) (Entered: 02/13/2014)
 03/03/2014     538    MOTION to Disqualify Judge by Lindsey Kent Springer (sc, Dpty Clk)
                       (Entered: 03/04/2014)
 03/04/2014     537    ORDER by Judge Stephen P Friot Second stage schedule - Government
                       response 5/5/14, Defendant reply 7/7/14; Briefs 25 pages limitation;
                       Dismissal of certain grounds for relief., setting/resetting deadline(s)/hearing
                       (s): ( Responses due by 5/5/2014) (Re: 472 MOTION to Vacate/Set
                       Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Lindsey Kent Springer
                       (hbo, Dpty Clk) (Entered: 03/04/2014)
 03/05/2014     539    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #538
                       denied (Re: 538 MOTION to Disqualify Judge ) as to Lindsey Kent Springer
                       (hbo, Dpty Clk) (Entered: 03/05/2014)
 03/19/2014     540    MOTION for Return/Release Property by Lindsey Kent Springer (sc, Dpty
                       Clk) (Entered: 03/20/2014)
 03/19/2014     541    EXHIBIT(S) in Support of Motion for Return of Property (Re: 540 MOTION
                       for Return/Release Property ) as to Lindsey Kent Springer (sc, Dpty Clk)
                       (Entered: 03/20/2014)
 03/27/2014     543    MOTION for Identity of Statutory Authority of Honorable Stephen P. Friot
                       by Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/27/2014)
 03/27/2014     544    MOTION to Reconsider (Re: 537 Order, Setting/Resetting Deadline
                       (s)/Hearing(s),,,, ) by Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                       03/27/2014)
 03/27/2014     545    MOTION for Appointment of Counsel by Lindsey Kent Springer (sdc, Dpty
                       Clk) (Entered: 03/27/2014)
 03/31/2014     547    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #543,
                       544 & 545 denied, terminating document(s) (Re: 545 MOTION for
                       Appointment of Counsel , 544 MOTION to Reconsider , 543 MOTION for
                       Identity of Statutory Authority of Honorable Stephen P. Friot , 546 MOTION
                       for Leave to Proceed Informa Pauperis ) (Documents Terminated: 546
                       MOTION for Leave to Proceed Informa Pauperis ) as to Lindsey Kent
                       Springer (hbo, Dpty Clk) (Entered: 03/31/2014)
 04/07/2014     548    RESPONSE in Opposition to Motion (Re: 540 MOTION for Return/Release




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                       Property ) by USA as to Lindsey Kent Springer (With attachments) (O'Reilly,
                       Charles) (Entered: 04/07/2014)
 04/07/2014     549    MOTION for an Order Directing Mr. Springer to Retrieve Search Warrant
                       Records by USA as to Lindsey Kent Springer (With attachments) (O'Reilly,
                       Charles) (Entered: 04/07/2014)
 04/07/2014     551    MOTION for Rule 41(i) Papers by Lindsey Kent Springer (sdc, Dpty Clk)
                       (Entered: 04/07/2014)
 04/10/2014     552    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #540 &
                       551 denied (Re: 551 MOTION for Rule 41(i) Papers , 540 MOTION for
                       Return/Release Property ) as to Lindsey Kent Springer (hbo, Dpty Clk)
                       (Entered: 04/10/2014)
 04/24/2014     553    MOTION to Reconsider (Re: 537 Order, Setting/Resetting Deadline
                       (s)/Hearing(s),,,, ) by Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                       04/24/2014)
 04/28/2014     557    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #553
                       denied (Re: 553 MOTION to Reconsider ) as to Lindsey Kent Springer (hbo,
                       Dpty Clk) (Entered: 04/28/2014)
 04/28/2014     558    RESPONSE in Opposition to Motion to Government Lawyer's Motion (Re:
                       549 MOTION for an Order Directing Mr. Springer to Retrieve Search
                       Warrant Records ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered:
                       04/28/2014)
 04/30/2014     562    RESPONSE in Opposition to Motion (Re: 472 MOTION to Vacate/Set
                       Aside/Correct Sentence under 28 U.S.C. 2255 ) by USA as to Lindsey Kent
                       Springer (O'Reilly, Charles) (Entered: 04/30/2014)
 06/11/2014     566    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #549
                       granted (Re: 549 MOTION for an Order Directing Mr. Springer to Retrieve
                       Search Warrant Records ) as to Lindsey Kent Springer (hbo, Dpty Clk)
                       (Entered: 06/11/2014)
 06/27/2014     570    MOTION to Amend 2255 (Re: 472 MOTION to Vacate/Set Aside/Correct
                       Sentence under 28 U.S.C. 2255 ) by Lindsey Kent Springer (sc, Dpty Clk)
                       (Entered: 06/27/2014)
 07/07/2014     572    MOTION to Reconsider and Allow Discovery by Lindsey Kent Springer (sc,
                       Dpty Clk) (Entered: 07/07/2014)
 07/07/2014     573    AFFIDAVIT (titled as Declaration of Lindsey Kent Springer in Support of
                       Motion to Reconsider and Allow Discovery) (Re: 572 MOTION to
                       Reconsider and Allow Discovery ) by Lindsey Kent Springer (sc, Dpty Clk)
                       Modified on 7/8/2014 to reflect correct event (sc, Dpty Clk). (Entered:
                       07/07/2014)
 07/09/2014     575    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #572
                       denied (Re: 572 MOTION to Reconsider and Allow Discovery ) as to
                       Lindsey Kent Springer (hbo, Dpty Clk) (Entered: 07/09/2014)




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 07/10/2014     576    RESPONSE in Opposition to Motion (Re: 570 MOTION to Amend 2255 ) by
                       USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 07/10/2014)
 07/11/2014     577    MOTION for Release Pending Disposition of 2255 Proceeding (Re: 472
                       MOTION to Vacate/Set Aside/Correct Sentence under 28 U.S.C. 2255 ) by
                       Lindsey Kent Springer (sc, Dpty Clk) (Entered: 07/11/2014)
 07/11/2014     578    AFFIDAVIT in Support of Motion (titled as Declaration of Lindsey Kent
                       Springer in Support of Motion for Release Pending Disposition of 2255
                       Proceeding) (Re: 577 MOTION for Release Pending Disposition of 2255
                       Proceeding ) by Lindsey Kent Springer (sc, Dpty Clk) (Entered: 07/11/2014)
 07/15/2014     579    ORDER by Judge Stephen P Friot Documents #577 & 578 are transferred to
                       the U.S. District Court for the District of New Mexico, further any claims for
                       relief brought under 28USC Sec 2255 are dismissed without prejudice for
                       lack of jurisdiction. (Re: 578 Affidavit in Support of Motion, 577 MOTION
                       for Release Pending Disposition of 2255 Proceeding ) as to Lindsey Kent
                       Springer (hbo, Dpty Clk) (Entered: 07/15/2014)
 07/25/2014     582    REPLY to Response to Motion (Re: 570 MOTION to Amend 2255 ) by
                       Lindsey Kent Springer (sc, Dpty Clk) (Entered: 07/28/2014)
 07/30/2014     583    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #570
                       denied (Re: 570 MOTION to Amend 2255 ) as to Lindsey Kent Springer
                       (hbo, Dpty Clk) (Entered: 07/30/2014)
 08/22/2014     584    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #472
                       denied, denying certificate of appealability (Re: 472 MOTION to Vacate/Set
                       Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Lindsey Kent Springer
                       (pll, Dpty Clk) (Entered: 08/22/2014)
 08/22/2014     585    JUDGMENT by Judge Stephen P Friot (Re: 472 MOTION to Vacate/Set
                       Aside/Correct Sentence under 28 U.S.C. 2255 ) as to Lindsey Kent Springer
                       (pll, Dpty Clk) (Entered: 08/22/2014)
 08/25/2014     586    MOTION For Order Finding Charles A. O'Reilly Is Not Authorized And Was
                       Never Authorized To Represent The United States Of America by Lindsey
                       Kent Springer (jla, Dpty Clk) (Entered: 08/25/2014)
 08/26/2014     587    ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #586
                       Denied (Re: 586 MOTION For Order Finding Charles A. O'Reilly Is Not
                       Authorized And Was Never Authorized To Represent The United States Of
                       America ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 08/26/2014)
 09/12/2014     588    NOTICE OF APPEAL to Circuit Court (Re: 476 Order, 566 Order, Ruling on
                       Motion(s)/Document(s), 530 Order, Ruling on Motion(s)/Document(s), 587
                       Order, Ruling on Motion(s)/Document(s),, 536 Order, Ruling on Motion
                       (s)/Document(s), 480 Order, Ruling on Motion(s)/Document(s), 528 Order,
                       Ruling on Motion(s)/Document(s),, 484 Order,, Terminating Document(s),,,
                       478 Order, Setting/Resetting Deadline(s)/Hearing(s),,,, 537 Order,
                       Setting/Resetting Deadline(s)/Hearing(s),,,, 492 Order, Striking/Withdrawing
                       Document(s),, 585 Judgment, 584 Order, Ruling on Motion(s)/Document(s),
                       Re: Ruling on 2255, 3582 or Rule 35 Motion, Denying Certificate of




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                       Appealability,,,, 575 Order, Ruling on Motion(s)/Document(s), 557 Order,
                       Ruling on Motion(s)/Document(s), 496 Order, Ruling on Motion
                       (s)/Document(s),, 547 Order, Ruling on Motion(s)/Document(s), Terminating
                       Document(s),,,,,, 511 Order, Ruling on Motion(s)/Document(s),, 552 Order,
                       Ruling on Motion(s)/Document(s),, 579 Order,,, 514 Order, Ruling on Motion
                       (s)/Document(s),, 510 Order, Ruling on Motion(s)/Document(s),, 539 Order,
                       Ruling on Motion(s)/Document(s),, 583 Order, Ruling on Motion
                       (s)/Document(s) ) as to Lindsey Kent Springer (sc, Dpty Clk) Modified on
                       9/16/2014 to create link for document #539 (sc, Dpty Clk). (Entered:
                       09/16/2014)




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